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Sec. 656.130. - Special notice to neighborhood organizations, CPACs, umbrella neighborhood
organizations and civic organizations; neighborhood organization participation in public hearings.

              (a)   The City recognizes that Jacksonville's many and varied neighborhoods are the
                    lifeblood of the community, providing most residents with their clearest sense of
                    identity with and participation in the communal life of the City. As reflected by the
                    adoption of Rule 6 (Procedures Governing Quasi-Judicial Actions), the City desires
                    to encourage the participation of affected neighborhood organizations in all land
                    use matters which come before the City Council, whether such matters are
                    legislative or quasi-judicial, and particularly desires to facilitate the participation of
                    neighborhood organizations in quasi-judicial land use matters.

              (b)   Ordinance 95-247-106 (The Neighborhood Bill of Rights) requires notification to
                    neighborhood organizations of the submission of any application for rezoning,
                    zoning or land use variance or exception, Development of Regional Impact (DRI) or
                    Planned Unit Development (PUD) application, or other significant land use action, a
                    clear explanation of the date, time and place of all applicable public hearings and
                    other opportunities for input on the application and a clear explanation of the type
                    of testimony that is allowable and relevant from neighborhood organizations and
                    residents.

              (c)   Notice of a time and place of a public hearing which is required to be held by the
                    Council, the appropriate committee of the Council, the Planning Commission or the
                    Downtown Development Review Board, as the case may be, with respect to any
                    type of land use action specified above shall be provided at least 14 days in
                    advance to any registered neighborhood organizations which serve a
                    neighborhood area located within 350 feet of the land which is the subject of the
                    application, the Citizens Planning Advisory Committees ("CPACs") in the affected
                    area and any "umbrella" neighborhood organizations or civic organizations if those
                    organizations have filed a written request with the City for notification concerning
                    one or more of those types of applications within a specific defined geographic
                    area. Notice received pursuant to this Section 656.130(c) shall not confer "affected
                    party status" upon the recipient of such notice, although any of these
                    organizations, except CPACs, may file a request for a determination of affected
                    party status under Council Rule 6.302 for those matters which are pending before
                    the Council. The failure of a neighborhood organization, CPAC or other




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  organization required to be notified under this Section shall not invalidate or
  otherwise have any effect upon a public hearing or action taken by the committee
  or the Council on the application for rezoning.

              (d)   The procedures governing quasi-judicial actions before the City Council (Chapter 6,
                    Rules of the City Council) establish informal and formal procedures for hearing
                    quasi-judicial matters. These rules are intended to be applied and interpreted in a
                    manner which recognizes both the legislative and the judicial aspects of the City
                    land use decision-making process and encourages full participation within that
                    process not only by all parties, but by interested neighborhood organizations,
                    individuals and the public as well. The Council's formal hearing procedures are
                    designed primarily to allow the applicant and others who have standing to
                    maintain a lawsuit to establish a proper record before the City Council, since
                    appeals of quasi-judicial matters to the circuit court are based solely on the record
                    before the Council. However, the informal hearing procedures were specifically
                    designed to allow for full participation by any neighborhood organization, as well
                    as the public, and because the hearing is shorter and the process less complex and
                    easier to use, the Council therefore encourages the use of the informal hearing
                    process by all applicants, neighborhood organizations and interested members of
                    the public whenever possible where there is no intent to appeal a quasi-judicial
                    decision of the City Council. Any neighborhood organization or member of the
                    public, whether or not qualified as an "affected party," as defined in Rule 6.302,
                    may participate fully in an informal hearing by requesting additional time to speak
                    at the beginning of the public hearing, and the Council President or the committee
                    chairman, as the case may be, shall grant additional time as necessary to the
                    requesting neighborhood organization or member of the public to allow sufficient
                    time to provide information during the public hearing portion of the hearing, as
                    required under Rule 6.201(e), as long as the information which is being provided
                    will assist the Council in making a complete and informed decision based upon
                    substantial, competent evidence, without unnecessary repetition and delay.

 (Ord. 1999-358-E, § 2; Ord. 2007-564-E, § 5; Ord. 2017-318-E , § 8)




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